
372 S.E.2d 134 (1988)
Lonnell G. GLOVER
v.
COMMONWEALTH of Virginia.
Record No. 860988.
Supreme Court of Virginia.
September 23, 1988.
Susan L. Korfanty (John W. Shanley, Arlington, on briefs), for appellant.
Eugene Murphy, Asst. Atty. Gen. (Mary Sue Terry, Atty. Gen., on brief), for appellee.
Present: All the Justices.
PER CURIAM.
The trial court, sitting without a jury, convicted the defendant, Lonnell G. Glover, of possession of a handgun and possession of cocaine and sentenced him to serve three years on the weapons charge and one year on the drug charge. The Court of Appeals affirmed. Glover v. Commonwealth, 3 Va.App. 152, 348 S.E.2d 434 (1986).
We granted an appeal to determine whether:
1. The search of the vehicle defendant was driving violated his Fourth Amendment rights.
2. The evidence was insufficient to prove defendant's possession of a handgun.
3. The evidence was insufficient to prove defendant's possession of cocaine.
We have considered these questions and, for the reasons assigned in the opinion of the Court of Appeals, id., we will affirm the defendant's convictions.
AFFIRMED.
